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aty         Lawrence A. Jacobson           laj@cohenandjacobson.com
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Recipients submitted to the BNC (Kroll Restructuring Administration, LLC):
            Steven A. Lamb, Esq.      Rovens Lamb LLP        2601 Airport Drive, Suite 370     Torrance, CA 90505
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